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8
                     UNITED STATES DISTRICT COURT
9
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
10
     LISA ALLEN,                      )            Case No.
11
                                      )
12   Plaintiff,                       )            COMPLAINT FOR VIOLATION
13                                    )            OF THE PENNSYLVANIA FAIR
            vs.                       )            CREDIT EXTENSION
14
                                      )            UNIFORMITY ACT,
15   THE RESOURCE CENTER, INC., )                  PENNSYLVANIA UNFAIR TRADE
                                      )            PRACTICES AND CONSUMER
16
     Defendant.                       )            PROTECTION LAW, AND
17                                    )            FEDERAL FAIR DEBT
18
     ________________________________ )            COLLECTION PRACTICES ACT
19

20                                 I. INTRODUCTION
21         1. This is an action for damages brought by an individual consumer for
22
     Defendant’s violations of the Pennsylvania Fair Credit Extension Uniformity Act
23

24
     and Pennsylvania Unfair Trade Practices and Consumer Protection Law.

25   Furthermore, Defendant’s violations of the Fair Debt Collection Practices Act, 15
26
     U.S.C. §1692, et seq. (hereinafter “FDCPA”), which prohibit debt collectors from
27

28   engaging in abusive, deceptive, and unfair practices.



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1
                                    II. JURISDICTION
2
           2.      Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
3

4                                     III. PARTIES
5
           3.      Plaintiff, Lisa Allen (“Plaintiff”), is a natural person residing in
6

7    Philadelphia County in the state of Louisiana, and is a “consumer” as defined by
8
     the FDCPA, 15 U.S.C. §1692a(3).
9
           4.      At all relevant times herein, Defendant, The Resource Center, Inc.,
10

11   (“Defendant”) with its principle place of business in the Bucks County in the state
12
     of Pennsylvania, was a company engaged, by use of the mails and telephone, in
13

14   the business of collecting a debt from Plaintiff which qualifies as a “debt,” as
15
     defined by 15 U.S.C. §1692a(5). Defendant regularly attempts to collect debts
16

17
     alleged to be due another, and therefore is a “debt collector” as defined by the

18   FDCPA, 15 U.S.C. §1692a(6).
19
                             IV. FACTUAL ALLEGATIONS
20

21         5.      At various and multiple times prior to the filing of the instant
22
     complaint, including within the one year preceding the filing of this complaint,
23

24   Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
25
           6.      In May 2012, Defendant contacted Plaintiff in connection with an
26
     attempt to collect an alleged debt.
27

28




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1          7.      Defendant contacted Plaintiff at times and places that were known to
2
     be inconvenient and with such a frequency as to constitute harassment under the
3

4    circumstances, including but not limited to, contacting Plaintiff’s place of
5
     employment at (215) 762-4711.
6

7          8.      Defendant contacted Plaintiff at her place of employment at (215)
8
     762-4711, despite being aware that such calls are against the policies of Plaintiff’s
9
     employer.
10

11         9.      Defendant contacted Plaintiff’s employer, a third party to this action,
12
     disclosing to said third party, personal information and details regarding
13

14   Plaintiff’s alleged debt, without being expressly requested.
15
            COUNT I:VIOLATION OF THE PENNSYLVANIA FAIR CREDIT
16                      EXTENSION UNIFORMITY ACT
17
           10.     Plaintiff hereby incorporates all facts and allegations set forth in this
18

19   Complaint by reference as if fully set forth at length herein.
20
           11.     The    Pennsylvania     Fair     Credit   Extension   Uniformity     Act
21

22
     (“PaFCEUA”) 73 P.S. § 2270.1 et seq. prohibits harassing and deceptive conduct

23   by creditors while engaging in the practice of collecting a debt from consumers.
24
           12.     Section 2270.5 of the PaFCEUA allows consumers to recover
25

26   damages against creditors who engage in unfair and deceptive debt collection
27
     practices under the Pennsylvania Unfair Trade Practices and Consumer Protection
28

     Law (“PUTCPL”).


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1          13.         Plaintiff is a “consumer” as defined by § 2270.3 of the PaFCEUA.
2
           14.         Defendant is a “creditor” as defined by § 2270.3 of the PaFCEUA.
3

4          15.         Defendant’s conduct violated the PaFCEUA in multiple ways,
5
     including but not limited to:
6

7                      a) Causing Plaintiff’s telephone to ring repeatedly or
                          continuously with intent to harass, annoy or abuse
8
                          Plaintiff;
9

10
                       b) Communicating with Plaintiff at times or places
11                        which were known or should have been known to be
                          inconvenient for Plaintiff;
12

13
                       c) Engaging in conduct the natural consequence of
14
                          which is to harass, oppress, or abuse Plaintiff;
15

16
                       d) Repeatedly contacting Plaintiff at his/her place of
17                        employment after being informed that such calls are
                          inconvenient to Plaintiff and violate the policy of
18
                          Plaintiff’s employer.
19

20
                 16.         As a result of the above violations of the PaFCEUA Plaintiff
21

22   suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
23
     embarrassment, mental anguish and emotional distress, and Defendant is liable to
24

25
     Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and

26   attorney’s fees.
27

28




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1
       COUNT II: VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
2           PRACTICES AND CONSUMER PROTECTION LAW
3
           17.     Plaintiff hereby incorporates all facts and allegations set forth in this
4

5    Complaint by reference as if fully set forth at length herein.
6
           18.     Defendant’s conduct as set forth above constitutes an unfair or
7

8    deceptive practice within the meaning of the Pennsylvania Unfair Trade Practices
9
     and Consumer Protection Law, 73 P.S. §201-1, et seq.
10
           19.     Defendant’s violation of the Pennsylvania Unfair Trade Practices
11

12   and Consumer Protection law has caused Plaintiff to suffer the damage set forth
13
     hereinabove.
14

15         20.     Plaintiff is entitled to triple damages and attorneys’ fees as a result of
16
     Defendant’s conduct, pursuant to 73 P.S. §201-9.2.
17

18
                        COUNT III: VIOLATION OF FAIR DEBT
                          COLLECTION PRACTICES ACT
19

20
           21.     Plaintiff reincorporates by reference all of the preceding paragraphs.
21

22         22.     Defendant’s conduct violated the FDCPA in multiple ways,
23
     including but not limited to:
24

25               a) Causing Plaintiff’s telephone to ring repeatedly or
                    continuously with intent to harass, annoy or abuse
26
                    Plaintiff (§1692d(5));
27

28




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1                b) Communicating with Plaintiff at times or places which
2                   were known or should have been known to be
                    inconvenient for Plaintiff (§1692c(a)(1));
3

4
                 c) Engaging in conduct the natural consequence of which
5
                    is to harass, oppress, or abuse Plaintiff (§1692d));
6

7
                 d) Repeatedly contacting Plaintiff at his/her place of
8                   employment after being informed that such calls are
                    inconvenient to Plaintiff and violate the policy of
9
                    Plaintiff’s employer (§1692c(a)(1)(3)).
10

11
           23.      As a result of the above violations of the FDCPA Plaintiff suffered

12   and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
13
     embarrassment, mental anguish and emotional distress, and Defendant is liable to
14

15   Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and
16
     attorney’s fees.
17

18                                PRAYER FOR RELIEF
19
           WHEREFORE, Plaintiff respectfully prays that judgment be entered
20
     against the Defendant for the following:
21

22                  A.    Declaratory judgment that Defendant’s conduct
23
                    violated the FDCPA;
24
                    B.    Actual damages;
25
                    C.    Statutory damages;
26
                    D.    Costs and reasonable attorney’s fees; and,
27
                    E.    For such other and further relief as may be just and proper.
28




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1
      PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
2
        Respectfully submitted this 21st day of September, 2012.
3

4                         By:     /s/ Cynthia Z. Levin
5
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                                Complaint - 7
